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12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                        OAKLAND DIVISION

15
      HAROLD DAVIS,                                          Case No. 4:19-cv-7650-HSG (TSH)
16
                                   Plaintiff,                PLAINTIFF’S NOTICE OF
17                                                           MOTION; MOTION FOR
             vs.
                                                             PARTIAL SUMMARY
18                                                           JUDGMENT; MEMORANDUM OF
      PINTEREST, INC.
19                                                           POINTS AND AUTHORITIES
                                   Defendant.
20                                                           Date:     December 9, 2021
                                                             Time:     2:00 p.m.
21                                                           Judge:    Hon. Haywood S. Gilliam, Jr.
                                                             Place:    Courtroom 2
22                                                                     United States Courthouse
                                                                       1301 Clay Street
23                                                                     Oakland, California 94612

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                         PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1                                 NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that on December 9, 2021, at 2:00 p.m., or as soon thereafter as
 3   the matter may be heard, in Courtroom 2 of the United States Courthouse, 1301 Clay Street, Oakland,
 4   California 94612, before the Honorable Haywood S. Gilliam, Jr., Plaintiff Harold Davis will and
 5   hereby does move for partial summary judgment.
 6          Plaintiff respectfully seeks partial summary judgment pursuant to Federal Rule of Civil
 7   Procedure 56(a) on the following issues against Defendant Pinterest, Inc.: (1) Pinterest is liable for
 8   copyright infringement and (2) Pinterest does not have any of the affirmative defenses it asserted,
 9   including the defense of fair use and safe harbor under the Digital Millennium Copyright Act.
10          Plaintiff bases this motion on the following documents: this Notice of Motion and Motion,
11   the accompanying Memorandum of Points and Authorities, the accompanying Declaration of
12   Charles D. Moore, the pleadings, record, orders, and other filings in this case, and on such other
13   written and oral points, authorities, and evidence as the parties may present to the Court on or before
14   the time of the hearing on the motion.
15   Dated: November 4, 2021                       REESE LLP

16                                                 /s/ Sue J. Nam

17                                                 Sue J. Nam
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                               PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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 1                                              INTRODUCTION
 2           Plaintiff Harold Davis is a digital artist and professional photographer, who earns his living
 3   and supports his family through the sale and license of his photographic works. Although Defendant
 4   Pinterest, Inc. touts itself as a social media platform, Pinterest, in reality, is an advertising company
 5   that has built its business off the backs of copyright owners whom Pinterest does not pay. Pinterest
 6   generates billions of dollars of annual advertising revenue but derives the content that drives this
 7   revenue for free. It is in this context that the copyright dispute between Mr. Davis and Pinterest arose
 8   with respect to the works at issue in this case (the “Works”), which are listed in Exhibit A to his
 9   Second Amended Complaint, ECF No. 56-1, and consist of fifty-one of the thousands of
10   photographic works for which he has copyright registrations issued by the United States Copyright
11   Office. In his direct infringement claim, Mr. Davis has no quarrel with individual users of Pinterest
12   (i.e., “Pinners”), who display Mr. Davis’ Works on their Boards (i.e., Pinterest’s virtual bulletin
13   boards) for personal purposes because they admire or are inspired by the Works. What Mr. Davis
14   complains about is the unauthorized, commercial use of his Works by Pinterest by (1) making
15   derivative works from his Works without his permission to track user interaction with his Works and
16   to target advertising; (2) publicly displaying his Works to users in order to drive advertising revenue,
17   including for goods that directly compete with his own business; and (3) displaying and distributing
18   his Works by emails and push notifications to entice Pinterest users to interact with Pinterest’s
19   website and app, again to generate advertising revenue. Now with the close of discovery, it is clear
20   that Pinterest is liable for copyright infringement and Pinterest does not have any viable affirmative
21   defenses such as fair use and safe harbor under the Digital Millennium Copyright Act (“DMCA”).
22   The only issue remaining for trial is the amount of damages to which Mr. Davis is entitled.
23                                               BACKGROUND
24   I.      HAROLD DAVIS AND HIS COPYRIGHTED WORKS
25           Mr. Davis is “an artist that uses photographs as the medium for [his] art.” Deposition
26   Transcript of Harold Davis (“Davis Tr.”), Ex. 1 to Declaration of Charles D. Moore (“Moore Decl.”),
27   66:17-18. Photography is his principal source of income. He supports himself and his family by
28   licensing photographs and selling prints, the income from which he supplements with writing books

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 1          Henry Lien, Assistant General Counsel for IP and Content and a Fed. R. Civ. P. 30(b)(6)
 2   witness, testified that, for purposes of DMCA takedown notices, Pinterest does not consider Pins to
 3   be the same as the images Pinterest itself displays alongside advertisement. See Deposition Transcript
 4   of Henry Lien as 30(b)(6) witness (“Lien Corporate Tr.”), Moore Decl. Ex. 5, at 106:11-107:15. Mr.
 5   Lien also was shown the same Exhibit 3 in his deposition as Mr. Galgon discussed above, Moore
 6   Decl Ex. 10. He was asked to focus on the juxtaposition of the image on the top right, labeled “Kiss
 7   from a Rose,” with advertisement “White Tea Roses by Neicy Frey in White Frame, Small Art Print”
 8   sold by Chairish immediately to the right. The exhibit again is excerpted here for ease of reference:
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            Mr. Lien testified as follows with respect to this deposition Exhibit:
24
                Q: . . . So assuming that the request DMCA takedown notice did say remove all
25              and since it is of this image, would Pinterest both remove the original pin and the
                thumbnail or just the original pin?
26                                          ***
27              A: So if the notice asked to remove all and we treated it as a remove all and if it
                was a complete notice and we were processing the removal, the removal would
28              cause the pin that was identified to be removed. It would cause any exact

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 1              matches we identified of the image that was in the identified pin to be removed. I
                believe that would also cause -- because the pins are removed we would no
 2              longer be showing the pin in thumbnail form on the platform and so we
                wouldn’t be displaying the thumbnails like what I’m assuming is appearing
 3              in Exhibit 3.
 4              Q: As part of the DMCA takedown notice process at Pinterest can a copyright
                holder ask for a thumbnail to be taken down without asking for the original pin to
 5              be taken down?
                                           ***
 6
                A: So I think if the notice identified a specific pin URL then that would cause
 7              the pin to be removed, which would then prevent the pin from being
                displayed either in close-up or in thumbnail form.
 8
     Lien Corporate Tr. 106:11-107:15 (emphasis added).
 9
            Thus, there was no avenue under Pinterest’s DMCA takedown procedure for Mr. Davis to
10
     object to Pinterest’s commercial use of his Works but not request that the underlying Pin be taken
11
     down. So, for example, if a user pinned Mr. Davis’s “Kiss from a Rose,” (Work No. 15 in the SAC),
12
     in order to comment on it, criticize it, research it, or write a journalistic piece about it, Mr. Davis
13
     would not have a legitimate basis to request that Pinterest take that Pin down under Pinterest’s
14
     DMCA takedown mechanism because he would not have a “good faith belief” that the original Pin
15
     of his Works “is not authorized . . . by the law.” See “Copyright on Pinterest,” Moore Decl. Ex. 20,
16
     at PINTEREST 000004. However, Mr. Davis does and did object to Pinterest’s use of his Work in
17
     making derivative works to track user interaction with his Works, publicly displaying his Works in
18
     connection with advertising products, and distributing his Works to promote Pinterest, all for
19
     Pinterest’s own commercial purposes. Because Mr. Davis only can seek to take down Pins under
20
     Pinterest’s DMCA takedown procedure, Mr. Davis’ allegations of Pinterest’s direct infringement of
21
     his Works, which does not center on users’ Pins, are in no way affected by his refusal to engage with
22
     a burdensome process that would not give him substantive relief.
23
            Mr. Davis testified:
24
                Q: Did you send Pinterest DMCA takedown notices for every image of yours on
25              Pinterest that you were aware of at the time in roughly September 2015?
26              A. Absolutely not.
                Q. Why did you send a DMCA notice to Pinterest requesting removal of this one
27              image in September of 2015 and not others of your images that you were aware
                of appearing on Pinterest at roughly the same time?
28
                                                       12
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 1           On August 19, 2021, after the June 1, 2021 deadline by which Plaintiff had to identify all
 2   instances of infringement and after the July 2, 2021 close of discovery,3 Pinterest belatedly produced
 3   a Supplemental Response to Interrogatory No. 6 and produced PINTEREST-0002756-2887,
 4   0002934-2945, 0003002-3364, 0003356-3986. See Pinterest’s Third Supplemental Response and
 5   Objections to Plaintiff Harold Davis’ First Set of Interrogatories (Nos. 1-7), Moore Decl. Ex. 14, at
 6   16-20. In that interrogatory response verified by Henry Lien, id. at 22, Pinterest stated, among other
 7   things, that PINTEREST 0002756-2887 and PINTEREST 0003002-3364 are documents that “show,
 8   for each Pin that contained a duplicate or near duplicate of an image that Plaintiff has identified as
 9   being a work in suit: (1) the board to which it was pinned; (2) whether and how often the Pin was re-
10   pinned; (3) occasions on which the Pin appeared on a Pinterest surface (e.g., homefeed); (4) the
11   date(s) associated with those activities; and (5) the third-party web domain to which the Pin links, to
12   the extent such documents exist in a readily accessible format in Defendant’s possession, custody,
13   or control based on a reasonable search and diligent inquiry.” Id. at 18-19. But rather than produce
14   responses for the entirety of the relevant period—or even since the filing of the lawsuit—Pinterest
15   chose to limit its search to just the week pre-dating the filing of the Amended Complaint (March 4,
16   2020 to March 10, 2020) and the week pre-dating the filing of the SAC (November 4, 2020 to
17   November 10, 2020). Id. at 19. This temporal limitation was never discussed by the parties or allowed
18   by the Court; it was the unilateral decision of Pinterest.
19           Defendant also produced PINTEREST 0002934-0002945 and PINTEREST 0003365-
20   0003986 on August 19, 2021, after the discovery deadline, which Pinterest identified as “documents
21   that show, for each Pin that contained a duplicate or near duplicate of an image that Plaintiff has
22   identified as being a work in suit: (1) the date(s) on which a notification that linked to the Pin was
23   sent to a user; (2) redacted user account(s) to which the notification was sent; and (3) the type of
24   notification that was sent, to the extent such documents exist in a readily accessible format in
25   Defendant’s possession, custody, or control based on a reasonable search and diligent inquiry.” Id.
26
     3
       This Court’s Scheduling Order set June 1, 2021 as “Deadline for Plaintiff to Serve Final
27   Identification of Alleged Infringements” and set July 2, 2021 as the “Close of Fact Discovery.” The
     Scheduling Order, however, allowed Defendant to “pursue discovery regarding alleged
28   infringements through September 3, 2021.” ECF No. 63.
                                                        19
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 1          The following is just one screenshot of infringement, DAVIS 00004346, of the many URLs
 2   of infringement that Plaintiff produced in discovery, which then Pinterest used to identify the
 3   underlying Pins displaying Mr. Davis’ Works and render these Pins inaccessible. Moore Decl., Ex.
 4   22.
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18          This screen shot of the identified URL captured Pinterest’s display in the “More like this”

19   surface several of Mr. Davis’ Works in connection with advertisement. Among other Works, Mr.

20   Davis’ “Two Icelandic Poppies,” identified as Work No. 12 in Exhibit A to the SAC, No. 56-1, can

21   be seen on the far top left below the “More like this” caption, immediately next to wall art sold by

22   West Elm. Mr. Davis’ “Flowering Quince,” identified as Work No. 40, also can be seen immediately

23   next to a Promoted Pin for Hydro Flask, on the far top right below the “More like this” caption. It is

24   important to note that the image that is Pinned and displayed above the “More like this” caption is

25   not the instance of infringement that Mr. Davis identified. Mr. Davis has repeatedly stated in his

26   SAC, deposition, verified responses to interrogatories, and requests for admissions that his claim of

27   direct infringement centers on Pinterest’s volitional actions that violated Plaintiff’s exclusive

28   copyrights with respect to each Work, not the uploading of content by Pinterest’s users to their
                                                      21
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 1   II.     THERE ARE NO GENUINE ISSUES OF FACT THAT PINTEREST LACKS
             VIABLE DEFENSES
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             Once the alleged infringing acts are established by the plaintiff, the burden shifts to the
 3
     defendant to establish any affirmative defenses. See Campbell v. Acuff–Rose Music, Inc., 510 U.S.
 4
     569, 590-94, n.20 (1994) (defendant bore the burden on fair use defense to copyright infringement);
 5
     Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1039 (9th Cir. 2013) (DMCA safe harbor is
 6
     an affirmative defense on which defendant has the burden of establishing its requirements); Napster,
 7
     239 F.3d at 1026 (waiver, implied license and copyright misuse are all affirmative defenses to a
 8
     claim of copyright infringement on which the defendant bears the burden of proof); Rano v. Sipa
 9
     Press, Inc., 987 F.2d 580, 585 (9th Cir. 1993) (defendant may assert license as an affirmative defense
10
     to a claim of copyright infringement).
11
             In Pinterest’s Answer to Plaintiff’s Harold Davis’ SAC (“Answer”), ECF No. 77, it asserted
12
     ten affirmative defenses.5 Pinterest’s Second Defense is that Plaintiff’s claims are barred in whole or
13
     in part because Defendant is protected by the DMCA Safe Harbors set out in 17 U.S.C. § 512(c) and
14
     (d). Its Third Defense is that Plaintiff granted licenses, consents, or permissions to Pinterest. Its
15
     Fourth Defense that Pinterest’s “activity is not infringing to the extent that it constitutes a fair use of
16
     the underlying copyrighted material.” Its Fifth Defense is estoppel that “Defendant has relied on
17
     representations from Plaintiff about Pinterest’s authorization to use all of portions of the copyrighted
18
     works at issue.” Pinterest’s Sixth Defense is unclean hands that he has somehow “manufacture[d]
19
     certain claims in this litigation.” Pinterest’s Seventh Defense is failure to mitigate his damages by
20
     failing to use Defendant’s DMCA takedown process. Pinterest’s Eighth Defense is that Plaintiff’s
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     claims are barred in whole or in part by the applicable three-year statute of limitations. Pinterest’s
22
     Ninth Defense and Tenth Defense is that Pinterest’s activities are substantially non-infringing and
23
     constitute de minimus use of the underlying copyrighted material. Finally, Pinterest’s Eleventh
24
     Defense is that Plaintiff somehow waived his copyright infringement claim because “Plaintiff
25
     refused to submit DMCA takedown notices and rejected Defendant’s requests for the information
26
     necessary to identify and remove those alleged infringements, stating that he would not benefit from
27
     5
       Defendant asserted as its first defense that Plaintiff’s SAC fails to state a claim for copyright
28   infringement. Answer, ECF No. 77, at 15. This is not an affirmative defense.
                                                         27
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 1   the removal of his images from Pinterest.” See Answer, ECF No. 77 at 15-18. There is no genuine
 2   issue that Pinterest has no viable affirmative defenses.
 3          A.      Pinterest’s Uses of Mr. Davis’ Works Do Not Constitute Fair Use
 4          Pinterest claims that it is somehow entitled to a fair use defense under 17 U.S.C. § 107,
 5   despite the fact that it has taken the entirety of each of the artistic Works, minimally transformed
 6   them primarily to make them more effective for Pinterest’s advertisement and, in so doing,
 7   supplanted Mr. Davis’ actual and potential market to license his photographic images. That simply
 8   cannot be the case. Indeed, the Ninth Circuit has already held that fair use is not a defense under very
 9   similar circumstances in VHT, Inc. v. Zillow Group, Inc., 918 F.3d 723 (9th Cir. 2019).
10          In VHT, the Ninth Circuit concluded that use of professional photographers’ images on the
11   defendant Zillow’s search engine, Digs, was not fair use under the four factors courts consider:
12               (1) the purpose and character of the use, including whether such use is of a
                 commercial nature or is for nonprofit educational purposes;
13
                 (2) the nature of the copyrighted work;
14
                 (3) the amount and substantiality of the portion used in relation to the copyrighted
15               work as a whole; and
16               (4) the effect of the use upon the potential market for or value of the copyrighted
                 work.
17
     Id. at 739 (citing 17 U.S.C. § 107).
18
            The Ninth Circuit then examined the search engine at issue, Digs, which has many of the
19
     same commercial functions as Pinterest’s website.
20
            With respect to the first factor, just as here, “[t]here is no dispute that [the defendant’s] use
21
     is for commercial purposes, a factor [the Court] cannot ignore.” Id. at 742. Moreover, just as in
22
     Zillow, Pinterest’s use of Mr. Davis’ work is not sufficiently “transformative” to mitigate the purely
23
     commercial nature of Pinterest’s use. Id. at 742-3.
24
                 Unlike the internet-wide search engines considered in Amazon and Kelly, Digs is
25               a closed-universe search engine that does not “crawl” the web. Users can run
26               searches on the “searchable set” of images within Digs’ walled garden, which
                 includes VHT photos. The search results do not direct users to the original sources
27               of the photos, such as VHT’s website. Rather, they link to other pages within
                 Zillow’s website and, in some cases, to third-party merchants that sell items
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